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                                         OFFICE OF THE CLERK

 PATRICIA S. DODSZUWEIT        UNITED STATES COURT OF APPEALS                 TELEPHONE
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        CLERK                             601 MARKET STREET
                                      PHILADELPHIA, PA 19106-1790
                                   Website: www.ca3.uscourts.gov




                                          April 9, 2025
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RE: Atlas Data Privacy Corp, et al v. First Direct Inc
Case Number: 25-1676/25-1677
District Court Case Number: 1:25-cv-01480


Dear Counsel:

The above-entitled cases have been listed for disposition during the week of July 7, 2025.

Per the Clerk’s Order issued April 9, 2025, the appeals at Nos. 25-1676 and 25-1677 are
consolidated for all purposes with the appeals at Nos. 25-1555 through 25-1593.

The panel will determine whether there will be oral argument and if so, the amount of
time allocated for each side. (See Third Circuit Internal Operating Procedures, Chapter
2.1.) Approximately 18 calendar days prior to the disposition date you will be advised
whether oral argument will be required, the amount of time allocated by the panel, and
the specific date on which argument will be scheduled.

Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk

By: Patrick
Calendar Clerk
267-299-4932
